Case 1:21-cr-00652-CRC Document 48 Filed 02/23/22 Page 1 of 7

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

 

UNITED STATES OF AMERICA,
VS. OBJECTION TO PRETRIAL
VIOLATION REPORT
21-CR-00652

TRACI J. SUNSTRUM,

Defendant,

 

OBJECTION TO PRETRIAL VIOLATION REPORT

PLEASE TAKE NOTICE that upon the annexed Affidavit of Daniel J. DuBois, Esq., the
undersigned hereby notifies this Court of our formal objection to the most recent Pretrial
Violation Report submitted against defendant.

DATED: Buffalo, New York
February 23, 2022 Yours, etc.

DANIEL J. DUBOIS

BY  /s/ Charles R. Haskell BY ( LY A Zo

 

Charles R. Haskell toh ey for Defendant,
641 Indiana Avenue, NW TRACI J. SUNSTRUM
Washington, DC 20004 390 Elmwood Avenue
202-888-2728 Buffalo, NY 14222

 

716-563-6132
Case 1:21-cr-00652-CRC Document 48 Filed 02/23/22 Page 2 of 7

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

 

UNITED STATES OF AMERICA,
vs. OBJECTION TO PRETRIAL
VIOLATION REPORT
21-CR-00652

TRACI J. SUNSTRUM,

Defendant,

 

AFFIDAVIT

STATE OF NEW YORK )
COUNTY OF ERIE ) SS:
CITY OF BUFFALO )

DANIEL J. DuBOIS, being duly sworn, deposes and states:

1. [am an attorney duly admitted Pro Hac Vice to practice law in the District Court for the
District of Columbia. I have been retained to represent Traci J. Sunstrum in the above-
mentioned matter. This affidavit is submitted in support of the Defense’s Objection to the
Pretrial Violation Report submitted today, February 23, 2022.

2. On November 17, 2021, the defendant pled guilty to an Information charging her
with a violation of Title 40, United States Code, Section 5104(e)(2)(G).

3. The Defendant is currently scheduled to be sentenced on February 24, 2022 at 11:00 a.m.
In order that the Court may have the benefit of all the available information regarding
the current violation, the Defendant responds as follows:
Case 1:21-cr-00652-CRC Document 48 Filed 02/23/22 Page 3 of 7

b) While Defendant denies using marijuana since her arrest, it was understood by
all parties that because of her “heavy” use before her arrest, it was likely she

would continue to test positive for a brief period until her body cleared
itself of the marijuana.

c) By all accounts it appears as though her body cleared itself of all traces of
marijuana by July of 2021. Ms. Sunstrum continually tested negative for all

substances until she was notified of a positive test for marijuana taken on
January 21, 2022.

d) Ms. Sunstrum was notified of the positive result on or about January 22, 2022.
As a result of the positive result, and with the knowledge that Ms. Sunstrum
had not consumed marijuana in any form, Ms. Sunstrum was tested by an
accredited lab, Occustar, located in Western New York. She tested by

submitting both a saliva and urine sample. Both tests came back negative for
all substances, including marijuana. (see attached)

While we are under the impression that and appreciative of the fact that the Government
is not recommending any action at this time, Ms. Sunstrum wanted this Court to know
that she has taken this matter, in its entirety, very seriously, and she does not want this
Court to be under the impression that she has violated ANY of the conditions lodged

against her while this case was pending.
C YA LY ZO

DANIEV/. DUBOIS

Attornéy for TRACI J. SUNSTRUM
390 Elmwood Ave.

Buffalo, New York 14222
716-563-6132

Subscribed and sworn to before me this a eS

day ot cn dg olla.

Notary Public

AMANDA NOTARO
Notary Public - State of New York
No. 01N06384733
Qualified in Erie County
My Commission Expires Dec. 17, 2022
Case 1:21-cr-00652-CRC Document 48 Filed 02/23/22 Page 4 of 7

EXHIBIT A
Case 1:21-cr-00652-CRC Document 48 Filed 02/23/22 Page 5 of 7

 

MRO Express

3501 SW 185th Avenue
Miramar, Florida 33029
954-592-8912 - result sent by T.L

ATTENTION:
DER
OCCUSTAR WORKPLACE COMPLIANCE NON 2*

Participant: Sunstrum,Traci
Other ID:

SSN: XXX-XX-XXXX

Results of Controlled Substance Test

 

Record Status: Negative
Test Type: Periodic
Collection Date/Time: 01/21/2022 1:35 PM
Batch ID: 20220123
Specimen ID: V18403080
Date COC Received: 01/21/2022
Sample Type: Saliva
Test Panel: 5-Substances

Laboratory: MedTox Laboratories
402 West County Rd D
St. Paul, MN 55112
Collection Site: Occustar

4267 Transit Road
Williamsville, NY 14221

Specimen Collector: Bev B

 

Test Performed Result

Amphetamines Negative
Opioids Negative
Marijuana Negative

 

Test Performed Result

Cocaine Negative
Phencyclidine Negative

 

 

(los

1/23/2022

 

Philip A. Lopez, M.D.

Results for Sunstrum,Traci, Other 1D: (SSN: XXX-XX-XXXX)

Verification Date

Printed on 1/23/2022 at 10:53:23PNV
Case 1:21-cr-00652-CRC Document 48 Filed 02/23/22 Page 6 of 7

 

 

MRO Express

3501 SW 185th Avenue

Miramar, Florida 33029
954-592-8912 - result sent by T.L

 

 

ATTENTION:
Timothy Knight Or Bev Blaszak
OccuStar - NON DOT *** Participant: Traci Sunstrum
4267 Transit Rd Other ID:
Williamsville, NY 14221 SSN: XXX-XX-XXXX
Results of Controlled Substance Test
Record Status: Negative Laboratory: LABCORP - RARITAN
Test Type: Other 69 FIRST AVENUE
Collection Date/Time: 01/21/2022 1:29 PM RARITAN, NJ 08869
Batch ID: 20220126 Collection Site: Occustar
Specimen ID: 0881413971 4267 Transit Road
Date COC Received: 01/21/2022 Williamsville, NY 14221
Sample Type: Urine Specimen Collector: Bev B
Test Panel: 5-Substances
Test Performed Result Test Performed Result
Amphetamines Negative Cocaine Negative
Marijuana Negative Opioids Negative
Phencyclidine Negative

 

 

 

Ay | 1/26/2022

Philip A. Lopez, M.D. Verification Date

Results for Traci Sunstrum. Other ID: (SSN: 276-31-545@) Dringad an 4/08/9N0O at Oc4ADcENAA,
Case 1:21-cr-00652-CRC Document 48 Filed 02/23/22 Page 7 of 7

 

MRO Express

3501 SW 185th Avenue

Miramar, Florida 33029
954-592-8912 - result sent by T.L

ATTENTION:
Timothy Knight Or Bev Blaszak
OccuStar - NON DOT ***

4267 Transit Rd
Williamsville, NY 14221

Participant: Lavette Warren
Other ID:

SSN: XXX-XX-XXXX

Results of Controlled Substance Test

 

Record Status: Negative
Test Type: Pre-Employment
Collection Date/Time: 01/21/2022 09:54 AM
Batch 1D: 20220127
Specimen ID: 0881413536
Date COC Received: 01/21/2022
Sample Type: Urine

Laboratory: LabCorp OTS
1904 Alexnder Drive
RTP, NC 27709
Collection Site: Occustar

4267 Transit Road
Williamsville, NY 14221

Specimen Collector; NATHAN H'

 

Test Performed Result

Amphetamines Negative

Cocaine Negative
Phencyclidine Negative

 

Methadone Negative

Jest Performed Result

Barbiturates Negative
Opioids Negative
Benzodiazepines Negative

Propoxyphene Negative

 

lsd

Philip A. Lopez, M.D.

Results for Lavette Warren. Other ID: (SSN: XXX-XX-XXXX)

1/27/2022

Verification Date

Printed on 1/28/2022 at 9:12:50AN
